Case 2:85-cv-04544-DMG-AGR Document 628 Filed 08/22/19 Page 1 of 2 Page ID #:32500



     1
     2
     3
     4
     5
     6
     7
     8                          UNITED STATES DISTRICT COURT
     9                         CENTRAL DISTRICT OF CALIFORNIA
    10                                    WESTERN DIVISION
    11
    12   Jenny Lisette Flores., et al.,            Case No.: CV 85-4544-DMG (AGRx)
    13                    Plaintiffs,              ORDER EXTENDING BRIEFING
                                                   SCHEDULE REGARDING
    14         v.                                  PLAINTIFFS’ MOTION TO
                                                   ENFORCE AND DEFENDANTS’
    15   William Barr, Attorney General of the     MOTION TO EXCLUDE
         United States, et al.,                    EVIDENCE AND FOR AN
    16                                             EVIDENTIARY HEARING [626]
                          Defendants.
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
Case 2:85-cv-04544-DMG-AGR Document 628 Filed 08/22/19 Page 2 of 2 Page ID #:32501



     1
     2         THIS CAUSE comes before the Court upon the Parties’ Stipulation to

     3   Extend Briefing Schedule Regarding Plaintiffs’ Motion to Enforce the Flores

     4   Settlement [Doc. # 578] and Defendants’ Motion to Exclude Certain Evidence and

     5   Request for an Evidentiary Hearing. [Doc. # 612].
     6         UPON CONSIDERATION of the Stipulation, the Court hereby ORDERS
     7   that the following schedule is set for briefing the parties’ Motions:
     8         - On or before August 23, 2019, Plaintiffs shall file a Reply to Defendants’
     9             Opposition to Plaintiffs’ Motion to Enforce;
    10         - On or before August 23, 2019, Plaintiffs shall file their Opposition to
    11             Defendants’ Motion to Exclude Certain Evidence and Request for an
    12             Evidentiary Hearing;
    13         - On or before September 6, 2019, Defendants shall file their Reply to
    14             Plaintiffs’ Opposition to Defendants’ Motion to Exclude Evidence and
    15             Request for an Evidentiary Hearing.
    16   IT IS SO ORDERED.
    17
    18   DATED: August 22, 2019                  _______________________________
                                                 DOLLY M. GEE
    19                                           UNITED STATES DISTRICT JUDGE
    20
    21
    22
    23
    24
    25
    26
    27
    28


                                                  -1-
